UNITED STATES DISTRICT COURT                      SOUTHERN DISTRICT OF TEXAS
                                                                     United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
Kedric Crawford,                           §
                                                                                  March 04, 2021
                                                                                Nathan Ochsner, Clerk
                                           §
              Plaintiff,                   §
                                           §
versus                                     §                   Civil Action H,2.0,3003
                                           §
Teddy Sims, et al.,                        §
                                           §
              Defendants.                  §

                               Order to Show Cause

    r.    U.A. Lewis must appear - in person - to justify her concurrent filing of
           several lawsuits, which range from identical to close with shifting
           defendants and claims, as camouflage, including collateral attacks on this
           court's jurisdiction. Potential sanctions will not exceed $50,000 or
           incarceration of 150 days.


    2..   A hearing is set for:


                                          12 2.02.1,
                                  March .?�,
                                       3:30 p.m.
                                    at ___    _
                            Courtroom 11,C, Eleventh Floor
                              United States Court House
                                  515 Rusk Avenue
                               Houston, Texas 77002..

           Signed on MarchL 2.02.1, at Houston, Texas.



                                                     LynnN. Hughes
                                                 United States DistrictJudge
